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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
                               Case No. 6:15-cv-00272-PGB-GJK

ISSANI RENDJAMBE,
     Plaintiff


vs.

SEAS & ASSOCIATES, LLC,

      Defendants
__________________________________/

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, ISSANI RENDJAMBE, by and through undersigned counsel, having amicably

settled all claims against Defendant, SEAS & ASSOCIATES, LLC, hereby gives notice of his

voluntary dismissal with prejudice in the above-styled action, with each party to bear its own

attorney’s fees and costs.


       Dated this 21st day of April, 2015.
                                                  Respectfully submitted,
                                                  DANIEL TAM, P.A.
                                                  Attorneys for Plaintiff
                                                  1000 Fifth St., Ste. 200
                                                  Miami Beach, FL 33139
                                                  Telephone:      (305) 357-0518
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                                                  dantamesq@me.com

                                                  By: /s/ Daniel Tam
                                                  DANIEL TAM, ESQ.
                                                  FBN 60610




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 21, 2015, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. I also certify that the foregoing document is being
served this day on all counsel of record in the manner specified via transmission of Notices of
Electronic Filing generated by CM/ECF.


                                                          s/Daniel Tam
                                                          Daniel Tam, Esq.




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